711 F.2d 420
    229 U.S.App.D.C. 142
    Howev.Martin-Trigona
    81-1976
    UNITED STATES COURT OF APPEALS DISTRICT OF COLUMBIA CIRCUIT
    5/16/83
    
      1
      D.C.D.C.
    
    
      2
      VACATED AND REMANDED*
    
    Circuit Rules, Rule 11(c).  28 U.S.C.A.)
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    